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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          Case No. 23-20073-CIV-ALTONAGA/Damian

  FLORAL LOGISTICS OF MIAMI, INC
  a Florida Profit Corporation,

         Plaintiff/Counter-Defendant

  v.

  NEW YORK GARDEN FLOWER
  WHOLESALE, INC., a New York
  Profit Corporation, and DHAN
  PAIH, an individual,

        Defendants/Counter-Plaintiff.
  ________________________________/

                      PLAINTIFF’S STATEMENT OF MATERIAL FACTS

         Plaintiff, FLORAL LOGISTICS OF MIAMI, INC (“Plaintiff”), by and through the

  undersigned counsel and pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56.1(a),

  files this Statement of Material Facts in support of its Motion for Summary Judgements against

  Defendants, NEW YORK GARDEN FLOWER WHOLESALE, INC. (“NY Garden”) and DHAN

  PAIH (“Paih”) (collectively referred to as “Defendants”). Plaintiff submits the following statement

  of material facts and contends there is no genuine issue to be tried.

         1.       This case involves the shipment of flowers from Colombia to New York. See ECF

  No. 1 at ¶ 8.

         2.       Floral Logistics is in the business of trucking and hauling throughout the United

  States of America. See Affidavit of Kathy Luna at ¶ 4 is attached hereto as Exhibit ‘A’ (hereinafter

  the “Exhibit A”).




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         3.      Defendants are in the business of purchasing and reselling flowers in the United

  States of America. See Exhibit A at ¶ 5.

         4.      On or about November 4, 2021 up until August 11, 2022, Plaintiff provided

  shipping services (the “Services”) to Defendant, NY Garden. See Exhibit A at ¶ 6; Report of

  Invoices is attached hereto as Exhibit ‘B’ (hereinafter “Exhibit B”).

         5.      Services were invoiced to Defendant, NY Garden. See Exhibit A at ¶ 7; Exhibit B.

         6.      Prior to providing the Services to NY Garden and as a prerequisite for the Services,

  Defendants completed a Credit Application. See Exhibit A at ¶ 8; Credit Application is attached

  hereto as Exhibit ‘C’ (hereinafter “Exhibit C”).

         7.      The Credit Application states as follows:

                 I (We) [i.e. Guarantor], the undersigned, notwithstanding any corporate title
                 which may be indicated, personally, individually, and jointly and severally
                 guarantee payments of applicant’s past, present and future obligations to
                 Floral Logistics of Miami, Inc. and agree to all of the terms herein.

  See Exhibit ‘C.’

         8.      The Credit Application further states that “[a]pplicant(s) waive(s) all right to make

  claim or counter suit unless claims are made BOTH in writing by email or fax, and by telephone

  within 24 hours of receipt of shipment.” See Exhibit C.

         9.      Defendant, Paih, executed the Credit Application as a personal guarantor. See

  Exhibit A at ¶ 9; Exhibit C.

         10.     Plaintiff performed the Services, and Defendant accepted the Services without

  complaint. See Exhibit A at ¶ 10.

         11.     Defendants received, inspected, and accepted in conformity any and all goods

  delivered. See Exhibit A at ¶ 10.




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         12.     Despite Defendants being aware of the process to open a claim with Plaintiff,

  Defendants did not file any claims by either email, fax, or telephone within 24 hours of receiving

  their goods. See Exhibit A at ¶ 10.

         13.     In fact, Defendants did not raise any issues with the shipment until Plaintiff sent

  Defendants a Debt Validation Notice on August 23, 2022. See Exhibit A at ¶ 12; Debt Validation

  Notice is attached hereto as Exhibit D (hereinafter “Exhibit D”).

         14.      At the time of sending the Debt Validation Notice, Plaintiff’s records reflected that

  Defendants owed Plaintiff a balance of one hundred eighty-one thousand six hundred forty-nine

  dollars and forty-six cents ($181,649.46). See Exhibit A at ¶ 13; Exhibit C; Exhibit D.

         15.     Pursuant to the Credit Application, Defendants are jointly liable for all costs related

  to litigating and collecting the instant account. See Exhibit C.

  Respectfully submitted this 9th day of August 2023.

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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 9, 2023, I electronically filed the foregoing via

  CM/ECF which will automatically send a copy of same to all registered users in this matter.

                                                        By: s/ Ryan Clancy
                                                        Ryan M. Clancy, Esq.



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